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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE

PENOBSCOT NATION,                            )
                                             )
                        Plaintiff,           )
                                             )
      v.                                     )   Docket # 1:12-cv-00254-GZS
                                             )
MAINE ATTORNEY GENERAL, et al.,              )
                                             )
                        Defendants           )


                                     EXHIBIT 1

                                        TO

               REPLY IN SUPPORT OF MOTION TO INTERVENE
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 From:                 Matt Manahan
 To:                   Kaighn Smith Jr. (ksmith@dwmlaw.com)
 Cc:                   paul.d.stern@maine.gov; jerry.reid@maine.gov; Cathy Connors
 Subject:              Penobscot Nation v. Mills, civil action No. 1:12-cv-00254-GZS
 Date:                 Tuesday, March 12, 2013 1:06:23 PM



 Dear Kaighn –

 I read with interest the Penobscot Nation’s opposition to my clients’ motion to intervene in
 the above–referenced action, and, in particular, the argument that my clients have no
 interest in this action because the outcome of this suit could not result in regulation by the
 Penobscot Nation over my clients’ activities in the Penobscot River.

 If the Penobscot Nation stipulates that it will not attempt to regulate or to impose its
 regulations on any of the putative intervenors’ discharges should the Court rule in this
 action that any portion of the main stem of the Penobscot River falls within the Tribes’
 Reservation, such that the Penobscot Nation would be estopped from imposing any such
 regulation on my clients, then we would agree that there is no need to intervene in this
 action.

 Please let us know promptly if the Penobscot Nation agrees to this stipulation.

 Thanks,
 Matt

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